           Case 8:24-bk-10483-TA                 Doc 3 Filed 02/29/24 Entered 02/29/24 14:03:06                                    Desc
                                                  Main Document Page 1 of 2
                                                                                      FOR COURT USE ONLY




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                                                                                                        CLERK U.S. BANKRUPTCY COURT
                                                                                                        Central District of California
                                                                                                        BY deramus DEPUTY CLERK

                                           UNITED STATES BANKRUPTCY COURT
                                             CENTRAL DISTRICT OF CALIFORNIA
                                                          SANTA ANA DIVISION
  In re:                                                                              CASE NO.: 8: 24-10483 -TA


  HEYCART INC.                                                                         CHAPTER: 11
  dba SMIRLY
                                                          Debtor(s)
                                                                                        ORDER SETTING SCHEDULING AND
                                                                                        CASE MANAGEMENT CONFERENCE

                                                                                      DATE: APRIL 03, 2024
                                                                                      TIME: 10:00 A.M.
                                                                                      COURTROOM: 5B
                                                                                      PLACE: U.S. Bankruptcy Court
                                                                                             Ronald Reagan Federal Building
                                                                                             411 W. Fourth Street
                                                                                             Santa Ana, CA 92701


    PLEASE TAKE NOTICE that, pursuant to 11 U.S.C. § 105(d), the Court will conduct a status conference in the above
case at the place and time set forth above.

     PLEASE TAKE FURTHER NOTICE that, based upon the Court’s records and evidence presented at the status
conference, the Court may do one or more of the following at the status conference (or at any continued hearing) without
further notice:

    1.            dismiss the case;
    2.            convert the case to another chapter;
    3.            order the appointment of a chapter 11 trustee;
    4.            establish deadlines for the filing of claims, requests for payment of expenses of administration and/or
                  objections to claims;
    5.            set deadlines for filing or soliciting acceptances of a proposed plan and disclosure statement by the
                  debtor or any other party in interest;
    6.            fix the scope and format of the notice to be provided regarding the hearing on approval of the
                  disclosure statement;
    7.            provide that the hearing on approval of the disclosure statement may be combined with the hearing
                  on confirmation of the plan;
    8.            set a deadline for confirmation of a plan;
    9.            set deadlines for compliance with reporting and other chapter 11 debtor in possession requirements;
    10.           set deadlines for the assumption or rejection of executory contracts or unexpired leases; and/or
    11.           refer matters to mediation.
            This form is for the EXCLUSIVE use of the United States Bankruptcy Court, Central District of California, Santa Ana Division.
May 2010
           Case 8:24-bk-10483-TA                 Doc 3 Filed 02/29/24 Entered 02/29/24 14:03:06                                    Desc
                                                  Main Document Page 2 of 2




    IT IS HEREBY ORDERED as follows:

    1.            The debtor in possession Heycart Inc dba Smirly. (or the chapter 11 trustee, if one has been appointed),
                  shall serve a copy of this order on the United States Trustee, all secured creditors, the official committee
                  of unsecured creditors and its counsel (or the 20 largest unsecured creditors, if no committee has been
                  appointed) and any parties that have requested special notice in the cases not less than 24 days prior to
                  the date scheduled for the status conference;

    2.            The debtor in possession (or the chapter 11 trustee, if one has been appointed) shall file with the court
                  and serve on the parties identified in the preceding paragraph not less than 14 days prior to the date
                  scheduled for the status conference a written status report that includes the following information:

                 a.         a brief description of the debtor’s businesses and operations, if any, and the principal assets and
                            liabilities of the estate;
                  b.        brief answers to these questions:
                            1.        What precipitated the bankruptcy filing?
                            2.        What does the debtor hope to accomplish in this chapter 11 case?
                            3.        What are the principal disputes or problems likely to be encountered during the course of
                                      the debtor’s reorganization efforts?
                            4.        How does the debtor recommend that these disputes be resolved and why?
                            5.        Has the debtor complied with all of its duties under 11 U.S.C. § § 521, 1106 and 1107 and
                                      all applicable guidelines of the Office of the United States Trustee, and, if not, why not?
                            6.        Do any parties claim an interest in cash collateral of the debtor?
                            7.        Is the debtor using cash that any party claims as its cash collateral and, if so, on what
                                      date(s) did the debtor obtain an order authorizing the use of such cash or the consent
                                      of such party?
                  c.        the identity of all professional retained or to be retained by the estate, the dates on which
                            applications for the employment of such professionals were filed or submitted to the United
                            States Trustee, the dates on which orders were entered in response to such applications, if
                            any, and a general description of the type of services to be rendered by each or the purpose
                            of the employment;
                  d.        in operating cases, evidence regarding projected income and expenses for the first six months
                            of the case;
                  e.        proposed deadlines for the filing of claims and objections to claims;
                  f.        a proposed deadlines for the filing of a plan and disclosure statement; and
                  g.        a discussion of any significant unexpired leases and executory contracts to which the debtor is
                            a party and the debtor’s intentions with regard to these leases and contracts;
                  h.        if debtor is an individual, whether debtor proposes to combine the hearing on the disclosure
                            statement and plan. See 11 U.S.C. § 105(d)(2)(B)(vi).

                                                                          ###



               Date: February 29, 2024




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May 2010
                                                                       -2-
